 Case 8:25-mj-01152-AAS       Document 10     Filed 02/18/25    Page 1 of 1 PageID 36




                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION

 UNITED STATES OF AMERICA

 v.                                                  CASE NO. 8:25-mj-01152-AAS

 PABLO ZUNIGA CARTES, ET AL.

                           NOTICE OF APPEARANCE

      The United States of America, by Sara C. Sweeney, Acting United States

Attorney for the Middle District of Florida, files this Notice of Appearance of the

undersigned as counsel for the United States in the above-captioned case.

      Assistant United States Attorney Daniel Baeza has been assigned as co-

counsel in this case. Please forward all materials in this case to both counsel and co-

counsel from this date forward.

                                           Respectfully submitted,

                                           SARA C. SWEENEY
                                           Acting United States Attorney

                                    By:   /s/ Daniel Baeza _____________
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